 

 

AO 106 (Rev. 04/10) Application for a Search Walrant

UNITED STATES DISTRICT COURT

for the
Eastem District of Wisconsin

In the Matter of the Search of:

A Verizon Wireless cellular telephone assigned number

520-353-6265 and used by Christopher L. Childs Case NO‘ / ge /YV? “ § 52 j

 

\'/\_/\/\/\/\/

APPLICATION FOR A SEARCH WARRANT

k I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under penalty of
perjury that l have reason to believe that on the following person or property:

A Verizon Wireless cellular telephone assigned number 520-353-6265 and used by Christopher L. Childs

over which the Court has jurisdiction pursuant to Title 18, United.States Code, Sections 2703 and 2711, there is now concealed:

Evidence of a crime, namely violations of Title 18, United States Code, Section 1591

The basis for the search under F ed R Crim P. 4l(c) is:
§ evidence of a crime;
§ contraband fruits of crime, or other items illegally possessed;
§ property designed for use, intended for use, or used m committing a crime;
§ a person to be arrested or a person who is unlawfully restrained ‘

The search is related to violations `of: Title 18, United States Code, 'Section 1591

The application is based on these facts: See attached affidavit

 

 

§”j])elayed notice of 3 b days (give exact ending date if more than 30 days: ) is requested
under 18 U.S.C. § 3 l03a, the basis of which is set forth on the attached sheet.

   

 

Applicant's sign%

Heather Wright, Special Agent (FBD

 

 

Printed Name and Title
Sworn to before me and signed in my presence: ®\1
Date: ::~.~YY: al wax i"\ 2
z Judge s slgnatt{);
City and State: MMLM_OQQZ]_- DEJ Filed OQ/'| 1/1 8 Daa‘(‘i¢iE MHBS’ Dn(‘l lmpntl'll. S. Ma£istrate Judge

 

P/ inted Nam`e and Title

 

 

AFFIDAVIT IN SUPP_ORT OF
AN APPLICATION FOR A SEARCH WARRANT

I, Heather Wright, being first duly sworn, hereby depose and state as follows:
INTRODUCTION AND AGENT BACKGROUNl)‘ t
l. I make this affidavit in support of an application for a_search warrant 4

y under Federal‘Rule of‘Criminal Procedure 41 and 18 U.S.C. §§ 2702(0)(1)(A) for information
about the location of the cellular telephone assigned call number 520-353~6265 (the “Target Cell
Phon`e”), whose service provider is Verizon'Wireless, a wireless telephone service provider

' headquartered in Basl<ing Ridge, New Jersey. The Target Cell Phone is described herein and in
Attachment A, and the location information to be seized is described herein and in Attachment
B. _

2. l am a Special Agent with the Federal Bureau of lnvestigation, and l have been so
employed since July 2010.

3. l l am currently assigned to the Wisconsin Human Trafficking Task 'Force, which
investigates theillegal trafficking of persons for the purposes of labor and commercial sex acts. l
gained experience in`the conduct of such investigations through prior investigations, formal d
training, and in consultation With law enforcement partners employed by local, state and federal

law enforcement `agencies. Prior to my assignment with the Milwaukee Division of the FBI, I

 

 

b was employed in the pharmaceutical manufacturing industry as a l’ro grammer Analyst for web
applications from September 1999 through March 2001 as well as an Automation Engineer from
June 2003 through 'July 2010.

4. The facts in this affidavit comef from my personal observations, my training and
experience, and information obtained from other agents and witnesses Throughout this affidavit,

‘ reference will be made to case agents Case agents are those federal, state, and local law

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enforcement officers who have directly participated in this investigation, and with whom your

` affiant has had regular contact regarding this investigation This affidavit is intended to show
merely that there is sufficient probable cause for the requested warrant and does not set forth all
of my knowledge about this matter.

51 _ ~Based on the facts set forth‘in this affidavit, there is probable cause to believe
that violations of Title 18, United States Code, Section 1591 (sex trafficking by forcel, fraud, or
coercion), have been committed, are being committed, and will be committed by Christopher L.
Chi"lds' (b. 1972) and others. fhere is also probable cause to believe that the location information
described in Attachment B will constitute evidence of these criminal violations, and will lead to
the identification of additional individuals who are engaged in the commission of these offenses

PRoBABLE CAUSE ` d
. _* 6. The FBI and other law enforcement partners are investigating CHRISTOPHER L.
CHILD_S and others for using force, fraud, and coercion to cause victims to engage'in _
commercial sex acts. The investigation to date has included traditional law enforcement _ v
methods, including, but not limitedto: interviews with confidential sources and sources of
n information; information from other law enforcement officers; documentary evidence; pen

register trap and trace, and telephone toll data; recorded telephone calls and text messages with

 

' "'targets,' physical*surveill'ance;and a"c'ourt-"authoriz`ed, cons'ensuallwiretap'of a confidentuiai -

source’s phone; \ '
7. On May 17, 2017, I received information that Victim 1, an adult female, had

reported to law enforcement that between October 31, 2015 and May 15 2017,CH1LDS had

4 forced and coerced her to be involved in commercial sexual activity. He also repeatedly

l physically and sexually assaulted her. Victim 1 explained that CHILDS was a pimp and that

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CHILDS regularly forced Victim 1 to perform prostitution dates at various strip clubs71 including
TNT in Lebanon, Wisconsin, and The Hardware St_ore, in Clyman, v\7\`./isconsin. CHILDS also
forced Victim 1 to perform prostitution dates at The Chicken Ranch, a brothel located in Nevada,
and had attempted to force Victim 1 to perform prostitution dates at 1`he Geisha House, which
purports to be a massage parlor in Madison,~, Wisconsin. Victim 1 explained that CHlLDS
demanded that all proceeds from the prostitution dates as well as any proceeds made f`rom '
dancing at the strip clubs be provided to him. l y

8. `On May 19, 2017, FBI Task Force Officer (TFO) Neal Lofy and 1 spoke with
Victim 1. Victim 1 explained that She met CHILDS in late 2013 or early 20_14, at Hammering
Hank’s, a bar located in-Hartford, Wisconsin. Approximately a year and a half later, while at the
same bar, CHILDS asked Victim l to go to a strip club with him. As they were walking into the
club, CHILDS told Victim l that people already thought that Victim 1 worked for him and told
d Victim 1, “11ere’_s what we do.” Victim 1 then realized that lCHILDS was a pimp and that he was
asking i/ictim l to dance and perform sex acts for money. CHILDS then introduced Victim 1 to
an additional female working for him, hereinafter “Victim 2.” At the time, Victim 1 was
working as a Certified Nursing Assistant (CNA). However, Victim 1 eventually agreed to dance

' at the strip club on the weekends.

 

9. l According to _Victim 1 CH1LDS initially allowed her to keep money from the
paychecks she received from working as a CNA and only demanded that she give CHILDS the
1 money earned at the strip clubs. However, soon aftershe began dancing, CHILDS told Victim~l
that he would be taking‘ everything ” CHILDS told Victim 1 that he would give Victim 1 any
money only he felt she needed it Over time, CHILDS continued to reduce the amount of money

he would provide for needed personal expenses

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10. Victim 1 also explained that CHILDS had her take out a loan in her name in order
to buy CHILDS a truck. C1~11LDS told Victim 1 that his “other girls” could not get a loan
because Victim 1 was the only female he had with a legit job and earning a paycheck. When
Victim 1 moved into an apartment in which she resided untuil she left CHILDS in 1\/1ay 2017

CHILDS had her take a $4500 title loan out on the truck to pay her rent and security deposit.
Soon after she left CHILDS, he defaulted on the truck loan, and the truck was repossessed

y 11. Victim 1 explained that in approximately February of 2016, she stopped working
as a CNA and began Working for CHILDS full time. .After Victim 1 began working for,CHlLDS
on a full time basis, CHILDS became sexually abusive to her. l

12. CHILDS also soon became physically abusive to Victim'l. ' 111 July of 201-6, '
.CHILD'S began hitting Victim 1. The first time CHILDS hit Victim 1 was in his car on the way
_` home from playing poker. CHlLDS, a pimp Victim 1 knew as “BALL” (an individual known to
la`w enforcement as KENDRICK A HAYDEN (b. 1979)), and others would play poker every `
r1_`uesday night During such a game, Victim 1 made a negative comment about JENNIFER
'CAMPBELL. 'Victim .1 was aware~that CAMPBELL was CHILDS’ f‘bottom” or most~trusted
prostitute, and the mother of two of CHILDS’ children 'When CHILDS and Victim 1 got into

their car after the game, CHILDS punched Victim 1 numerous times in the head Victim 1

 

' described this as “wailing on her.“ b
13. Victim 1 reported that CH1LDS was always violent to his girls when he drank.

Victim 1 reported that Victim 2 would always have bruises on her body. Victim witnessed

CHILDS beat Victim 2 on one occasion, and on other occasions, Victim 2 told Victim 1 what n

had happened Victim 2 alsotold Victim 1 that CHILDS was sexually abusive to her.

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14. » Victim 1 explained that CHILDS controlled every aspect-of her life. CHILDS
had rules about everything, including how the apartment had to look and how clean it needed to
be. Six months prior to Victimll leaving CHILDS, CHILDS became very strict about what
Victim 1 ate. Victim 1 was not allowed to eat fast food, and if she wanted to eat something,
CHILDS would have to tell her yes or no,-even if she was with her sister or her mother.- Victim 1

had totell CHILDS where was going to be at all times and if she visited anyone, such.as her
sister, she would have to send pictures constantly to CHILDS to prove to him that she was where
she said she was. d l
15. 4 vVictim 1 explained that although CHlLDS occasionally set up dates for'Vi`ctim 1
nat customer’s homes o_r` in cars, the majority of Victim 1’s prostitution dates occurred in the
l champagne rooms at TNT and The Hardware 'Store,‘ two strip clubs located in Dodge County,
.`Wisconsin. CHILDS had a good relationship with the managers at the strip clubs and would call v
them to verify how many dates and how much money Victim 1 made. At the end of every night,
CHILDS required Victim land Victim 2 to bring him all of the money that they made.

16. Victim 1 reported that initially, she would have to drop the money off at
CHILDS’s residence every night on the way home from the strip club. The managers would d
provide payment to Victim l in a sealed envelope. After a while, CHILDS installed a safe within

Victim"l ’s horne,'and' V ictiin 1 'was'to"l"ock'the 'enve1ope' inside fhesafe.""I;aw enforcement has
since verified the existence of and photographed this safe.

17. lVictim »l explained that CHILDS had a key to Victim 1’s apartment and had the v
freedom to pick up the money whenever he wished 1f any of the money was missing, Victim 1 ` y

would be punished Punishments entailed either physical abuse or sexual torture. CI-HLDS would `

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make Victim 1 pick her punishment For example, on at least one occasion, CHILDS punished
Victim l by forcing her to place a hot curling iron in her vagina. n

18. If Victim 1 or Victim 2 got any tips and did not provide them to CHILDS,
CHILDS always found out. CHILDS would either play Victim 2 and Victim l1 against each
other, lying to them individually in order to get them .to tell'on one another, or he would call the
strip club and ask the managers or bartenders how many times they had entered 'thechampagne
rooms. Approximately six to eight months prior to the interview, Victim 1 had attempted to keep
$200-$250. CHILDS found out and punished Victim l by beating her.

19. Victim 1 reported, and law enforcement has verified, that CHILDS lived with
CAMPBELL at 1346 Patton Street in Hartford, Wisconsin. Victim 1 reported that CAl\/IPBELL
left CHILDS on a number of occasions, but they always got back together. CHILDS was not as
' abusive to CAMPBELL§ however, Victim l knew that CH1LDS had hitCAMPBEl.iL in the past.
CAMPBELL' previously had worked at TNT and the Hardware Store. l l

20. Victim 1 reported that CAMPBELL was currently working at an Asian massage
' . parlor called the Geisha House in Madison. Sometime in mid'~February 2017, CHILDS was sick
and told CAMPBELL to take Victim l to fill out an application at "l`he Geisha House. Both
CAMPBELL and Victim l filled out applications Victim 1 did not.get a call back;~however,

' CAM"BELL did. During the course of filling out the application, the owner of the massage
parlor told CAMPBELL and Victim l that whatever “extras” CAMPBELL and Victim l made
were CAMPBELL's and Victim 1’s to keep, while the owner would receive the price of the
massage. The owner also told CAMPBELL and Victim 1 that if the police came, that
CAMPBELL and Victim 1 were on their own. The owner took a copy of CAMPBELL and
Victim lis driver's license and asked for CAMBELL’s and Victim 1’s previous job experience _on

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the application CHILDS told Victim l that CAMPfBELL was making approximately between
$500 and $1'300 a day at The Geisha House. y y

21. After interviewing Victim l, other law enforcement and 1 were able to verify
much lof Victim 1’s statements through additional investigation, including witnesses interviews
and phone-records For' example, other witnesses have confirmed that employees at TNT
handled arrangements for prostitution dates at the club and were aware of CHILDS’ role as a
pimp. 111 addition, law enforcement has verified prostitution activity taking place at the The
Hardware Store through numerous complaints and law enoforcement contact In addition, law
enforcement has obtained phone records and social media search warrant returns confirming
contact between CHILDS and Victim 11 Victim 2, and CAMPBELL. Law enforcement also
obtained documentation from a social service agency in which another victim detailed CHILDS’
role as her pimp.

q 22. ' On January 5, 2018, Victim 1 told me that CHILDS, who‘remains in contact with
Victim 1, now had another female (hereinafter Victim 3) working for him On January 25, 2018,
Victim l told me that Victim 3 had confided that said she didn't like the way CHILDS was
treating her. Victim 3 also told Victim l that CHILDS made_Victim 3 call him “Daddy.” Victim

1 1 reported that CHILDS later told Victim 1 that he was leery of Victim 3 because Victim l was

 

 

not there to watch Victim 3.
23'. During thelnight of Saturday, January 27, 2018, Victim 1 called me. She was

noticably upset Victim 1 explained that Victim 3 had called her and was extremely upset

because “SCOTTIE” had called CHILDS and told CHILDS that Victim 3 was causing problems _'

with other girls as well as the owner of the Hardware Store. 1 am aware that SCGTT HOEFT is

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the manager of the Hardware Store and is known to others as “SQOTTIE.” 1 also have verified
through phonorecords that HOEFT did in fact call CHILD'S cell phone that evening as reported
24. During their call on 1anuary~27, 2018, Victim 3 told Victim l that CHILDS was
sending CAMPBELL to pick up Victim 3 from the Hardware Store. Victim 3 told Victim 1 that y
1 the reason that SCOTTIE~had called CHILDS was because he had wanted her to go on stage and
~ Victim 3 needed a break. Victim 3 stated that she was exhausted and-was only taking a break
because CHILDS was making Victim 3 work 15-hour days. Victim 1 stated that following that
phone call, lVictim 1 spoke to CHILDS. CHILDS said that he was going to pick Victim 3 up
from the club and that CHILDS was going to try and make Victim 3. stay and work if he could.
- CHILDS told Victim l, “1 know the bitch is tiredbut she needs to make that dough.”

._ 25. we 'Following the January 27, 2018 telephone call 1received from Victim 1, 1
contacted the Dodge County `Sheriff’_ s Department. Shortly thereafter, a Dodge County Deputy
conducted a traffic stop on CHILDS with Victim 3 inside his vehicle. j

26. On Saturday, February 3, 2018, 1 again spoke with Victim 1. Victim 1 stated that
Victim 3 had been drunk at a George Webb ’s restaurant earlier that morning and told two `
customers that because she gave all her money to CHILDS, she did not have money for the meal

she had ordered Victim 1 had received this information from `CHILDS. CHILDS told Victim 1 v

 

that he was going to kill this bitch." Hartford rolice were called to George Webb`s because
Victim 3 attempted to leave the restaurant without paying forher meal. Fearing for Victim 3 ’s
safety, Victim 1 anonymously called Hartford Police and told the dispatcher of CHILDS’ threats
against Victim 3. Victim 3 was cited for obstruction and taken into custody for a short time.

27. 1 have confirmed the above events with Hartford Police Detective Richard

Thickens_. Detective Thickens provided reports indicating Hartford Police also spoke with , l

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CH1LD*S that evening near the hotel at which Victim 3 had been staying. CH.ILDS also told
police that the room that Victim 3 was staying, was in his name. At the time, CHILDS was
driving a gold-colored, 2014 Catillac XTS bearing Wisconsin license plate 871-ZMZ.

4 28. - Later that day, Victim 1 advised me that CHILDS “had” Victim 3 (in his
possession). CHILDS also told Victim l that CAMPBELL was F‘on the same shit” that_C_HILDS
‘-"was on.’-’ CHILDS told Victim l that CHILDS needed to do what he could to make money and
was going to make sure he didn’t get caught. Victim l believed CHILDS statements to mean that
Victim 3 ’s life was at risk.' Victim 1 felt that if CHILDS felt threatened in any way, CHILDS
would not»hesitate to hurt Victim 3. CHILD8 told Victim 1 that he didn’t trust Victim 3 yet and

-Victim l felt that because CH1LDS didn’t trust Victim 3, Victim 3 would endure more physical
or sexual abuse to ensure Victim 3 did what CHlLDS wanted

29. On Monday February 5, 2018, this writer spoke with Victim 1. Victim l stated
that she had just gotten off the telephone with CHILDS. CHILDS told Victim 1 that Victim 3
and CHILDS were at a hotel located in l\/Iadison, Wisconsin, and that Victim 3 was working at
the Geisha House with CAMPBELL all week. CHILDS told Victim 1 that he was-staying there
until Victim 3 made enough money for them to leave. CHILDSv told Victim 1 that he was happy

that he was there with Victim 3 so he can watch her at all times. CHILDS would not disclose

 

where in iviadison CHILDS was keeping Victim 3 and informed Victim 1 that CiiiLi)S had
taken Victim 3 ’s phone. CHILDS*also told Victim 1 that he had changed his telephone number
in an attempt to avoid law enforcement detection `CHILDS told Victim l that his new telephone
number was 520-353-6265, the cell phone for which this warrant seeks location information
30. l Later that same day (February 5 , 2018), 1 again spoke with Victim l. Victim 1

stated that CHILDS had told Victim l that he had to put Victim 3 “in her place.” When Victim 1

9 ` 4 ' _ . .

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asked what that meant CHILDS told Victim l to “stop being stupid, ” and that “she knew what
that meant ” Victim 1 believed, based on her own experiences with CHILDS, that CHILDS
meant that he had physically or sexually assaulted Victim 3.CH1LDS told Victim 1 that
CAMPBELL and CAMPBELL's kids had gone to the hotel to visit CHILDS the night prior and
l CHILDS told his kids that he had to “lay low.” Victim 1 also stated that CHILDS had purchased
another cellular phone. CHILDS told Victim l to communicatewith CHILDS on this new phone
j only. Victim l provided CHILDS’ s new number as 608- 445- 4146

31. ' On Wednesday, February 7, 2018, Special Agent 1 eff Berkley of the Wisconsin
Department of lustice, Division of Criminal lnvestigation, conducted surveillance of the Geisha
House. At approximately 8:42 a.m., a Cadillac sedan with very dark tinted side and rear
windows pulled into the parking lot. The Cadillac had a Wisconsin license plate of 871Z1\/IZ. A
white female with dark red hair and blonde highlights in her bangs_’l who matches the general
description of Victim 3_ exited the front passenger seat and grabbed bags from the rear .
l passenger seat. The female then walked into the side door of the building j

3‘2. ~ Wisconsin DOT records confirmed that license plate 871 ZMZ_ is assigned to a
2014 Cadillac XTS 4dr sedan registered to CHILDS and CAMPBELL at 1346 Patton Road, in l

Hartford, Wisconsin.

 

33. ’ On February 8, 2018, at approximately 1:38 a.m.,4 SA Berkley observed a Cadillac
sedan with dark tinted windows park in the parking lot to the house the Geisha House. No one
got out of the Cadillac. At approximately 2:00 a.m., a female exited the Geisha House from the
side door with bags, walked to Cadillac, and got into the front passenger seat. The Cadillac drove

away, and no one else got into the Cadillac. SA Berkley observed the Cadillac as it was driving

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east on Highway 30 and caught up to the Cadillac once it was heading east on 1-94. S_A Berkley
observed the _Wisc,onsin license plate on the Cadillac as 871 ZMZ. l j v l

_ 34. l 'On‘l?ebruary 2, 2018, Victim 1 signed consent for a Title 111 wiretap of her phone
in order to capture‘and record her conversations with CHILDS and Victim 3. An order 1 j
authorizing the wiretap was signed by the Honorable ludge J.P. Stadtmuell'er on February 5 , l
2018, and the wiretap was established on February 6, 2018; The following is a transcribed
excerpt of a call between CHILDS and and Victim l that was captured on February 9, 2018 at
10:47 a.m.: -

Victim l: 1’m guessing that Faith gives you everything .

l CHILDS: Oli no questions Faith. ...religiously. So 'I’m like, okayj she likes the spot in
.l\/ladison, you know what 1’m saying? She doesn’t want to leave. ’.Like, now we talking last nightj
like before 1 picked her up and she doesn’t want to go to Arizona now. . . .to the Ranch.

Victim 1: Huh, really?

CH1LDS: Yeah, she’drather just stay at the‘Geisha House. l’m~like when you break it
j down, when you think about it like that. . .you have, you fuckin’ for 100, 200 bucks at the Geisha
House. You’re not doing that in Madison. 1 mean Vegas.

Victim 1: Right -
CHILDS: 111 Vegas, you’re not giving away pussy for 100, 200 bucks.
Victim‘l: No, not at all._ ’~
' CHlLDS:Anyway,you’regivinglawaypussyoutthere.....it’ssometimesthousands.~ ~
_ Victim 1: Yep. y

CHILDS: And even if the muthfucka pay a thousand just to tuck, you still get $500 of
that. ' ' .

Victim 1: Right, and it’s not like it’s a long time either.

l CHILDS: Yeah, and like, she worked a double. She did, like, 13 programs on Wednesday
' and that’s cool, but that was a double. 1 mean, like, you fucked 13 people that day. You maybe

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sucked some, but for the most. . . 13. lf you do 13 pro grams'out at, you get 13 rooms out at the
y fucking Vegas, you get (unintelligible).

Victim 1: You’re looking at lOGs

35. 1n my training and experience, 1 have learned that Verizon Wireless is a company
that provides cellular telephone access to the general public|. 1 also know that providers of
cellular telephone service have technical capabilities that allow them to collect and generate at
4 least two kinds of information about the locations of any cellular telephones sold as of 2003 to
which they provide service: (ll E-911 Phase 11 data, also known as GPS data or latitude- d-
longitude data, and (2) cell-site data, also known as “tower/face information” or cell tower/sector :
records E- 911 Phase 11 data provides relatively precise location information about the cellular
telephone itself, either via GPS tracking technology built into the phone or by triangulating on
the device s- signal using data from several of the provider’ s cell towers Cell-site data identifies
the “cell towers” (i.e., antenna towers covering specific geographic areas) that received a radio
signal from the cellular telephone and, in some cases, the‘ "’sector (i e., faces of the towers) to
which the telephone connected Thesetowers are often a half-mile or,more apart, even in urban
areas, and can be 10 or more miles apart in rural areas. Furthermore, the tower closest to a

wireless device does not necessarily serve every call made to or from that device.- Accordingly,’

cell-site data is typically less precise that E~911 Phase 11 data.

 

36. Based on my training and experience, 1 know that Verizon Wireless can collect E-
v 911 Phase 11 data about the location of the Target Cell Phone, including by initiating a signal to
. determine the location of the Target Cell lPhone on Verizon Wireless’s network or with such

other reference points as may be reasonably available.

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37. Based on my training and experience, 1 know that Verizon Wireless can collect

cell-site data about the Target Cell Phone. v
l AuTHoRlerIoN REoUEsT

38. Based on the foregoing, 1 request that the Court issue the proposed search
warrant, pursuantto Federal Rule of Criminal Procedure 41 and 18 U.S.C. § 2703 (c).
l 39. 1 further request, pursuant to 18 U.S.C. § 3103a(b) and Federal Rule of Criminal
Procedure 41(f`)(3), that the Court authorize the officer executing the warrant to delay notice until
q 30 days after the collection authorized by the warrant has been completed There is reasonable
cause to believe that providing immediate notification of the warrant may have an adverse result-,
as defined i_n 18 U.S.C. § 2705. Providing immediate notice to the subscriber or user of the
Target Cell Phone would seriously jeopardize the ongoing investigation, as such a disclosure
would give that person an opportunity to destroy evidence, change patterns of behavior, notify
confederates,A and flee from prosecution. See 18 U.S.C. § 3103a(b)(1). As further specified in
Attachrnent B, which`is incorporated into the warrant, the proposed search warrant does not
' authorize‘the seizure ofany tangible property See 18 U.S§C. § 3103a(b)(2). 1\/10reover,l tothe
extent that the warrant authorizes the seizure of` any wire or electronic communication (as

defined in 18 U.S.C. § 2510) or any stored wire or.electronic information, there is reasonable

 

necesslty for the se1zure for the reasons set forth above. dee 18 U._S.Lj. § 5 lUja(b).(Z).-

40. 1 further request that the Court direct Verizon Wireless to disclose to the
government any information described in Attachrnent B that is within the possession, custody, or
' control of Verizon Wireless for a time period of 4`5 days from the date the warrant is signed 1 '
also request that the Court direct Verizon Wireless to furnish the government all information,'

facilities, and technical assistance necessary to accomplish the collection of the information

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described in Attachment B unobtrusively and with a minimum of interference with Venzon
»Wireless’s services, including'by initiating a signal to determine the location of the Target Cell
Phone on Verizon Wireless’s network or with such other reference points as may be reasonably
available, and at such intervals and times directed by the government The government shall
reasonably compensate Verizon Wireless for reasonable expenses incurred in furnishing such
facilities or assistance

41. 1 further request that the Court authorize execution of the warrant at any time of
day or night, owing to the potential need to locate the Target Cell Phone outside of daytime

hours.

 

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ATTACHMENT A
l Property to Be Searched
1. 'The cellular telephone assigned call number 520-353-'62'65, (the “Target Cell Phone”), §
whose wireless service provider-is Verizon Wireless, a company headquartered at 1

’ ' Verizon Way, Basking Ridge, New lersey 07920.

2. 1nformation about the location of the Target Cell Phone that is within the possession,

custody, or control of Verizon Wireless._

 

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ATTACHMENT B
Particular Things to be Seized
All information about the location of the TargetCel_l _Phone described in Attachment A
for a period of forty-five days from the date lthe warrant is signed, during all times of day and
night. “Information about the location of the `Target Cell Phone” includes all available E-911
Phase 11 data, GPS data, latitude-longitude data, and other precise location information, as well
v asdall data about which “oell_towers” (i.e.{, antenna towers covering specific geographic areas)
and “sectors” (i.e., faces of the towers) received a radio signal from the.cellular telephone
described in Attachment A. ` w
To' the extent that the information described in the previous paragraph (hereinaf`ter,
“Location 1nformation”) is within the possession, custody, or control of Verizon Wireless,
Verizon Wireless is required to disclose the Location 1nformation to the government In
addition, VerizonWireless must furnish the government all inforrnation, facilities, and technical
assistance necessary t_o accomplish the collection of the Location 1nformation unobtrusively and
1 with a minimum of interference with Verizon Wireless’ services, including by initiating a signal
to determine the location of the Target Cell Phone on Verizon Wireless’s network or with such

other reference points as may be reasonably available, and at such intervals and times directed by

 

the government lhe government sha11 compensate Verizon Wireless for reasonable expenses
incurred in fumishing such facilities or assistance k

This warrant does not authorize the seizure of any tangible property 1n approving this
warrant, the Court finds reasonable necessity for the seizure of the Location 1nformation ,Se@ 18

U.s.c. §31033(13)(2). -

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